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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION



AUTOLIV ASP, INC.,                            )
                                              )
       Plaintiff,                             )
                                              )
v.                                            ) Civ. Action No. 2:13-cv-141-WKW-SMD
                                              )
HYUNDAI MOBIS CO., LTD., and                  )
MOBIS ALABAMA, L.L.C.,                        )
                                              )
       Defendants.                            )


                                          ORDER

       For good cause, it is

       ORDERED that a status conference in this case is hereby set for November 4, 2020,

at 11:00 a.m., CST, by video conferencing via ZoomGov Meeting before the

undersigned United States Magistrate Judge.

       No later than five minutes prior to the start of the conference, the parties shall join

the proceeding via Zoom. A member of the undersigned’s chamber’s staff will email the

attorneys for the parties with the Zoom link to join the conference. If for some reason a

party experiences technical difficulties, that party should seek direction by calling

chambers at (334) 954-3700, but only after first attempting to rejoin the call.

       The parties are advised that, as a newly assigned judge to this case, the undersigned

wishes to receive a general status update of the ongoing litigation, particularly anything

pertaining to the pending motions for summary judgment and the possibility of settlement
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as to the claims. The undersigned also advises the parties that he wishes to discuss setting

an in-person hearing for the pending motions in this case. The parties are directed to

coordinate prior to the November 10th conference and identify three dates in November

and/or December on which the parties are available to attend the in-person hearing

regarding the pending motions.

       DONE this 19th day of October, 2020.


                                          /s/ Stephen M. Doyle
                                          UNITED STATES MAGISTRATE JUDGE
